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UNITED STATES BANKRUPTCY COURT                                 SOUTHERN DISTRICT OF TEXAS


                  Motion and Order for Admission Pro Hac Vice

 Division              Houston               Main Case Number              24-90213 (CML)
                  Debtor                     In Re: Steward Health Care System LLC, et al.



          Lawyer’s Name                 Edward J. Green
               Firm                     FOLEY & LARDNER LLP
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 Name of party applicant seeks to          HonorHealth, an Arizona non-profit corporation
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


             9/9/2024                                      /s/ Edward J. Green
 Dated:                       Signed:


 The state bar reports that the applicant’s status is:


 Dated:                       Clerk’s signature:


              Order
                                                This lawyer is admitted pro hac vice.

Dated:
                                                         United States Bankruptcy Judge
